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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO


 BANCRÉDITO INTERNATIONAL BANK                         CIVIL NO. 18-1005
 CORPORATION
                                                       BREACH OF CONTRACT;
         Plaintiff                                     EXECUTION OF COLLATERAL
                                                       GUARANTY; EXECUTION OF
              v.                                       PERSONAL GUARANTY

 DATA HARDWARE SUPPLY, INC.; FRANCO
 D’AGOSTINO; DAYCO TELECOM C.A.

        Defendants



                                          COMPLAINT

TO THE HONORABLE COURT:

       COMES NOW, Plaintiff BANCRÉDITO INTERNATIONAL BANK CORPORATION

(“BIBC”), through the undersigned attorneys, and respectfully STATES, ALLEGES and PRAYS

as follows:

                                      I. THE PARTIES

       1.      Plaintiff BIBC is a banking entity established under the laws of the

Commonwealth of Puerto Rico, governed under Puerto Rican State laws, and by applicable

federal laws of the United States of America. The Plaintiff’s principal address is 270 Muñoz

Rivera Ave., 5th Floor, Suite 504, Hato Rey, Puerto Rico, 00918.

       2.      Co-Defendant Data Hardware Supply, Inc. is a Florida Domestic Profit

Corporation, responsible for its failure to comply with the repayment terms of the Loan

Agreement described below. The company's principal office and mailing address is 8950 Sw

74 Ct Ste. 1803, Miami, Florida, 33156.
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       3.     Co-Defendant Mr. Franco D’Agostino is of legal age, single, and citizen of the

United States of America and is liable as guarantor for Data Hardware Supply, Inc.’s failure to

repay the Loan Agreement described below. His address is listed as 848 Brickwell Ave., Suite

810, Miami, FL, 33131.

       4.     Co-Defendant Dayco Telecom C.A., also known as Dayco Host, is a company

established under the laws of Venezuela, against whom Co-Defendant Data Hardware Supply

has a credit under the Contract No. PSG-12-0830, which has been assigned to Plaintiff BIBC

as collateral guaranty to the Loan Agreement described below. The company’s principal and

mailing address is 8950 Sw 74 Ct Ste. 1803, Miami, Florida, 33156.

                                      II. JURISDICTION

       5.     This court has jurisdiction over this action pursuant to 28 U.S.C. § 1332,

inasmuch as Plaintiff BIBC on one hand, and defendants Data Hardware Supply, Inc. and Mr.

Franco D’Agostino on the other, are citizens of different states, and the controversy between

the parties relates to a claim in excess of the jurisdictional amount of $75,000.00.

       6.     Venue is proper in this forum, since the Co-Defendants have expressly agreed

that the Loan Agreement described below be governed and constructed in accordance to the

laws of the Commonwealth of Puerto Rico, and expressly agreed to the jurisdiction of this

court, in any and all claims related to or arising out of the terms of the Loan Agreement

described below.




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                                III. STATEMENT OF CLAIMS

A.     BREACH OF CONTRACT

       7.     On February 5th, 2015, the parties executed a Personal and Corporate

Collateralized Loan Agreement, whereby Co-Defendant Data Hardware Supply, Inc. received a

loan from Plaintiff BIBC, for the sum of $1,500,000.00, to be repaid with variable interest,

within a 12 months period.

       8.     The parties agreed that the loan was to be 100% collateralized by the

assignment of 50% (fifty percent) of each of the payments under the Contract No. PSF-12-

0830 dated October 15, 2012, and signed on December 12th, 2012 and February 7th, 2013

between Data Hardware Supply, Inc. and Dayco Telecom C.A., also known as Dayco Host.

       9.     As of August 25th, 2016, Co-Defendant Dayco Telecom C.A., also known as Dayco

Host, owed Co-Defendant Data Hardware Supply, Inc., the amount of $3,520,940.92.

       10.    In addition to the above mentioned collateral guarantee, Co-Defendant Mr.

Franco D’Agostino, in his personal capacity, signed as guarantor for the aforesaid loan.

       11.    On February 5th, 2015, Defendant Data Hardware Supply, Inc. executed a

Promisory Note for value received, agreeing to pay to the order of the Plaintiff the principal

sum of $950,000.00, together with variable interests, due and payable on February 5th, 2016.

       12.    On February 6th, 2015, Defendant Data Hardware Supply, Inc. executed a

Promisory Note for value received, agreeing to pay to the order of the Plaintiff the principal

sum of $550,000.00, together with interests, due and payable on February 6th, 2016.

       13.    On February 5th, 2015, Defendant Mr. Franco D’Agostino executed a Guaranty

of Payment in favor of the Plaintiff BIBC, in which he acknowledged the loan for the principal

sum of $1,500,000.00, and agreed to pay in full, jointly, severally and unconditionally an



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amount equal to the payments which would have been due to Plaintiff under such Loan

Agreement and that remain unpaid, owing and outstanding, including any interest accrued,

default interests, fees, charges and penalties established.

       14.    A Loan Extension and Modification Agreement dated April 29, 2016, a Loan

Extension and Modification Agreement dated August 26, 2016 and a Third Loan Extension and

Modification Agreement dated July 20, 2016, extended the maturity date of both Promissory

Notes to June 30th, 2016, February 28th, 2017, and August 31st, 2017, respectively.

       15.    On August 31st, 2017, the outstanding principal and all accrued and unpaid

interests became due and owing under the above referenced Promissory Notes and Guaranty

of Payment, as amended.

       16.    Co-Defendants have continuously failed their duty to repay the loan according

to the terms of the Loan Agreement. As of October 31st, 2017, Co-Defendants had an

outstanding balance due and payable of $1,487,368.05 in principal, plus $40,934.20 in

interests and fees, which amounts to a grand total of $1,527,302.25.

       17.    On November 1st, 2017, Mrs. Frances M. Díaz Fossé, President & CEO of BIBC

notified the Co-Defendants that the event of default had occurred and demanded the full

payment of the $1,527,302.25 owed, to be paid within the next 10 days. No payment has

been received.

       18.    On November 17th, 2017, Plaintiff BIBC, by means of the undersigned attorney,

sent a letter of demand to the Co-Defendants requesting the full payment of the amount due

and payable of $1,527,302.25, to be paid within the next 7 days. No payment was received.




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B.     INTEREST, ATTORNEY’S FEES AND OTHER EXPENSES

       19.     Plaintiff reproduces and reaffirms, as if alleged herein, each and every one of

the preceding allegations.

       20.     Pursuant to the Loan Agreement, Co-Defendants are required to pay

immediately upon demand as penalty an amount equal to ten percent (10%) of the

outstanding principal and interest due to cover costs, expenses and attorney’s fees of the

Plaintiff required to set forth this proceeding.

       21.     The Co-Defendants have been obstinate in that, although they have been on

notice of the nature and extent of the damages suffered by the Plaintiff, they have taken no

action on the matter and have, in fact, fomented this litigation.

       22.     Pursuant to the laws of the Commonwealth of Puerto Rico, a person who is

obstinate in fomenting litigation and/or protracting litigation, or refusing to recognize an

obligation, is liable for reasonable attorney’s fees.

                                           IV. RELIEFS

       23.     WHEREFORE, for the reasons stated above, BIBC respectfully requests that this

Honorable Court:

       A.      Enters judgement declaring that Co-Defendant Hardware Data Supply is liable

to Plaintiff BIBC for the amount of $1,527,302.25, plus prejudgment interest, expenses,

attorney’s fees and costs of this litigation.

       B.      Enters judgement declaring that Co-Defendant Mr. Agostino is jointly, severally

and unconditionally liable to Plaintiff BIBC for the amount of $1,527,302.25, plus

prejudgment interest, expenses, attorney’s fees and costs of this litigation.




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      C.      Enters an order for the execution of the collateral guaranty, consisting of the

50% of each of the payments under the Contract No. PSF-12-0830 dated October 15, 2012,

and signed on December 12, 2012 and February 7, 2013 between Data Hardware Supply and

Dayco Telecom C.A., also known as DAYCO Host.

      D.      Grant Plaintiff such other and further relief as the Court may deem

appropriate and proper and retain jurisdiction over this action in order to assure full

compliance with any decree issued by this court.

   RESPECTFULLY SUBMITTED.

   In San Juan, Puerto Rico, this 8th day of January, 2018.



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